THE COURT.
Petition for habeas corpus.
Petitioner is detained by virtue of a warrant issued by the Governor of this state, directing the extradition of petitioner to the state of Ohio. [1] It is alleged in the petition that the Governor's warrant is based upon an indictment filed against petitioner in the state of Ohio on the seventeenth day of November, 1927, in which said indictment petitioner is charged with having committed a felony on the fifteenth day of November, 1927, to wit: With having failed to support two minor children. Petitioner claims he was not within the demanding state on said last-mentioned date. There is no merit in the petition. Considering the character of the offense with which he is charged, his presence within the state was not necessary to enable him to commit the same. Petition denied. *Page 256 